
Martin, J.
(dissenting). While I concur with my brother Williams in his conclusion that the assessment in question was invalid if Averill was a non-resident, and that the burden of establishing that fact was upon the plaintiff, I am unable to concur in that portion of the opinion which results in the conclusion that the judgment should be affirmed.
It is quite manifest that the learned trial justice misapprehended the law applicable to this case, that by reason thereof he deemed the non-residence of Averill as insufficient to render the assessment invalid, and for that reason alone, and not because he discredited the plaintiff’s evidence, he failed to find upon the question of Averill’s non-residence. His opinion clearly shows this, as he says, “ the evidence authorizes a finding that Averill was a nonresident, but that is not enough.” Again he says, “the plaintiff was bound to also show either that the lands were unoccupied, and therefore non-resident if Averill was the owner, or that Averill was not the owner.”
The proof of Averill’s non-residence was wholly undisputed. It is true this was proved by the testimony of an interested party, and the court was not bound to refrain from exercising its judgment or to blindly adopt his testimony. But when the court says that the evidence authorizes the finding that he was a non-resident, it becomes clearly manifest that the testimony was considered worthy of credit, and that the court would have so found but for its misconception of the law.
It may be that no exception was taken by the appellant which pointedly raised this question, but be that.as it may, this court has the power, and it is its duty, upon an examination of the whole case, to determine whether the decision was against the weight of evidence and contrary to law and justice, and if of the opinion that it was, to grant a new trial. Whitaker v. D. &amp; H. C. Co., 22 N. Y. State Rep., 409; Mandeville v. Marvin, 30 Hun, 282, and cases cited in opinions.
I am of the opinion that justice requires a reversal of the judgment, and that a new trial be granted.
Judgment affirmed, with costs.
